Case 3:12-cr-00058-GMG-RWT Document 339 Filed 01/27/14 Page 1 of 4 PageID #: 1458




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

               Plaintiff,

  V.                                                CRIMINAL ACTION NO. 3:12-CR-58(5)
                                                    (JUDGE GROH)

  JENNY DAVIS,

                Defendant.


                  ORDER DENYING MOTION TO REDUCE SENTENCE

         Currently pending before the Court is a letter filed by the pro se Defendant on

  January 16, 2014 [Doc. 338]. The Court construes this letter as a Motion to Reduce

  Sentence because the Defendant asks whether anything that she has done or can do will

  allow her to return home before September 2017. See Id. at 2. In this case, the Defendant

  pled guilty to one count of aiding and abetting the distribution of cocaine base within 1000

  feet of a school in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C), 21 U.S.C. § 860, and

  18 U.S.C. § 2. On March 18, 2013, the Court sentenced her to a seventy-month term of

  imprisonment to run consecutively to any other state sentence for probation revocation, to

  be followed by six years of supervised release.

         18 U.S.C.    § 3582(c) provides a district court with authority, under certain
   circumstances, to reduce a sentence already imposed:

         (c)    Modification of an imposed term of imprisonment. The court may not
                modify a term of imprisonment once it has been imposed except
                that—

                (1)     inanycase—
Case 3:12-cr-00058-GMG-RWT Document 339 Filed 01/27/14 Page 2 of 4 PageID #: 1459




                       (A)    the court, upon motion of the Director of the Bureau of
                              Prisons, may reduce the term of imprisonment. after.   .



                              considering the factors set forth in section 3553(a). if   .   .



                              it finds that—

                               (i)    extraordinary and compelling reasons warrant
                                      such a reduction; or

                               (ii)   the defendant is at least 70 years of age, has
                                      served at least 30 years in prison, pursuant to a
                                      sentence imposed under section 3559(c), for the
                                      offense or offenses for which the defendant is
                                      currently imprisoned, and a determination has
                                      been made by the Director of the Bureau of
                                      Prisons that the defendant is not a danger to the
                                      safety of any other person or the community, as
                                      provided under section 3 142(g); and that such a
                                      reduction is consistent with applicable policy
                                      statements issued by the Sentencing
                                      Commission; and

                        (B)    the court may modify an imposed term of imprisonment
                               to the extent otherwise expressly permitted by statute or
                               by Rule 35 of the Federal Rules of Criminal Procedure
                                                                           ;
                                                                           1
                               and

                (2)    in the case of a defendant who has been sentenced to a term
                       of imprisonment based on a sentencing range that has
                       subsequently been lowered by the Sentencing Commission
                       pursuant to 28 U.S.C. § 994(o), upon motion of the defendant
                       or the Director of the Bureau of Prisons, or on its own motion,
                       the court may reduce the term of imprisonment, after
                       considering the factors set forth in section 3553(a) to the
                       extent that they are applicable, if such a reduction is consistent
                       with applicable policy statements issued by the Sentencing
                       Commission.

         In support of her request for a sentence reduction, the Defendant informs the Court


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   Under Rule 35, a court may reduce a sentence in only two circumstances: (1) to correct,
 within fourteen days after sentencing, a clear error in arithmetic; or (2) upon the government’s
 motion made within one year of sentencing, if the defendant provided substantial assistance
 in investigating or prosecuting another person. FED. R. CRIM. P. 35(a)-(b). Neither of these
 grounds applies in this case.
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Case 3:12-cr-00058-GMG-RWT Document 339 Filed 01/27/14 Page 3 of 4 PageID #: 1460




  that she has completed a six-month non-residential drug abuse treatment program, is

  working on obtaining her GED, and has not had any write-ups since her imprisonment.

  The Court commends the Defendant for completing the treatment program, pursuing her

  GED, and all of the other progress that she has made.       However, the Court has no

  authority to modify the Defendant’s sentence on the basis asserted, for two reasons.

        First, most statutory authority for sentence reductions requires either the Bureau

  of Prisons or the Government to file a motion. See 18 U.S.C. § 3582(c)(1)(A)-(B).

  Here, the Defendant has filed the instant motion.

        Second, a § 3582(c)(2) reduction, the only remaining basis, does not apply to the

  Defendant. Pursuant to § 3582(c)(2), a court may reduce a term of imprisonment that

  was imposed using a sentencing range that the Sentencing Commission has

  subsequently lowered pursuant to 28 U.S.C. § 994(o). Here, the Defendant was

  sentenced pursuant to § 2D1 .2 of the Sentencing Guidelines. At the time of

  Defendant’s sentencing, and presently, § 2D1 .2(a)(2) sets a base offense level of 27 for

  an offense involving at least 100 kilograms, but less than 400 kilograms, of marijuana

  (or marijuana equivalency) for defendants convicted under 21 U.S.C. § 841(a)(1),

  841(b)(1)(C), and 860.2 Compare U.S.S.G. § 2D1 .2(a)(2) (2012) and U.S.S.G. §
  2
    Under U.S.S.G. § 2D1 .2(a)(2), the base offense level is one plus the offense level
  from U.S.S.G. § 2D1.1 applicable “to the total quantity of controlled substances
  involved in the offense.” The parties stipulated that the Defendant’s total drug relevant
  conduct was 68.1 grams of cocaine base and 2.76 grams of cocaine hydrochloride.
  Pursuant to Application Note 8(B) to § 2D1.1, the cocaine base and cocaine
  hydrochloride were converted into marijuana equivalencies for purposes of obtaining a
  single offense level. According to Application Note 8(D), 1 gram of cocaine base is
  equivalent to 3,751 grams of marijuana. Thus, 68.1 grams of cocaine base is
  equivalent to 243.185 grams of marijuana. I gram of cocaine hydrochloride is
  equivalent to 200 grams of marijuana. Thus, 2.76 grams of cocaine hydrochloride is

                                              3
Case 3:12-cr-00058-GMG-RWT Document 339 Filed 01/27/14 Page 4 of 4 PageID #: 1461




  2D1.1(c)(7) (2012), with U.S.S.G. §2D1.2(a)(2) (2013) and U.S.S.G. §2D1.1(c)(7)

  (2013). Thus, the Sentencing Commission has not lowered the Defendant’s sentencing

  range.

           For the foregoing reasons, the Court DENIES the Defendant’s Motion to Reduce

  Sentence.

           It is so ORDERED.

           The Clerk is directed to transmit copies of this Order to all counsel of record

  and/or pro se parties.

           DATED: January 27, 2014.



                                                      GINA .GROH
                                                      UNITED STATES DISTRICT JUDGE




  equivalent is 552 grams of marijuana. The total marijuana equivalency in the
  Defendant’s case therefore was 243.737 kilograms, constituting an offense level of 26
  pursuant to § 2D1.1(c)(7). Adding one level pursuant to U.S.S.G. § 2D1.2(a)(2) leads
  to a base offense level of 27.

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